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l il     ROBERT F.. KENNEuY, JR.
12

13                                  UNITED STATES DISTRICT COURT
14                              NORTHERN DISTRICT OF CALIFORNIA
IDS

16       ROBERT F. KENNEDY, JR.,                     Case No. 5:23-cv-03880-NC
17                     Plaintiff,                    fAssigned to the Honorable Nathanael
                                                     tousms]
18              vs.
                                                     DECLARATION OF AMARYLLIS
1'9      GOOGLE LLC a Delaware                       KENNEDY
         corporation, and YOUTUBE, LLC, a
20       Defaware corporation,
21                    Defendants.

22       Ill
23       Ill
24
         Ill
25       Ill
26       Ill
27       Ill
28                                               1
           DECLARATIO OF AMARYLLIS KE     EDY.                           CASE NO. 5:23-cv-03880-NC
                                 Case 3:23-cv-03880-TLT Document 7-3 Filed 08/09/23 Page 2 of 8




                l                             DECLARATION OF AMARYLLIS KENNEDY
                2                 I, AmruyUis Kennedy f decfare as follows:
                3                  l.    I am over the age of 18 and a senior adviser for Team Kennedy, the
                4           organization formed by my father-in-law, Robert F. Kennedy~ Jr.,. to support his
                5           campajgn for President o the United States. I have personal knowledge of the facts
                6           se forth in this declaratlon and cou1.d testify competently to them if caHed to do so.
                7                 2..    I am submitting this declaration in support of Bobby~s application for a
                8 i         temporary restraining order or, in the alternative, an order to show cause regarding the
                9           issuance ,of a prnliminary injuncfon, prohibiting Defendants Google LLC and
               w            YouTube, LLC~ from using its COVID-19 and vaccine misinformation policies to
               11           censor videos of him sp aking on matters of public cone rn during the campaign.
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;.;i_o
U'lO-
>--     ""C,   12                 3.     Bobby has spoken regularly about the safety and efficacy of vaccines
..), ~ ~


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  > -'LI.,
~ Q. 3
               13
                        I
                            over the past decade. To my knowfedge 1 he was not censored on Y ouTube untH 2021 .
< :;:J         14 I after Googlle adopted a new policy, dubbed the '·' vaccine misinfonnation policy.'' That
~ 8l g
        ~w
< a
::.:~:i=.      t5           is the policy that Google has cited most frequently during the past two y ars when
~§"'
....Q ·· ""    16           11emoving videos his speech on matters ofpublic concern, including speeches he has
 ;ii:
...,

               n            made,. and interviews he has given, during his political ,campaign.
                8                 4.     Although Google does not censor all vtdeos of Bobby speaking, it has
               19           removed several igh-profile speeches and interviews he has given during the
               20           campaign, including a speech at the   1   ·   ew Hampshire Institute of Politics and
               21           interviews he gave to Jo . Rogan and Jordan Peterson.
               22                 5.     Fo.r example~ attache,d to this declaration as Exhibit '~A" is a true and
               23           correct copy of an email one of Bobby s supporters sent the campaign after Google
               24           removed his posting of the Rogan interview. The campaign r ceives similar repo11s
               25 , from peopfe on a near daily basis.

               26                 6.     Google's act.ions have created a chining effect surrounding the campaign.
               27           I often hear from people who say that Google's actions have deterred them from
               28                                                            2
                    I
                             DEC ARAT[ON OF AMARYLLIS KENNEDY.                                      CASE NO. 5;23-cv-03880-NC
                 Case 3:23-cv-03880-TLT Document 7-3 Filed 08/09/23 Page 3 of 8
                                                                                                                   -.'



 1 . posting content about Bobby .. The chilling effect ·s particularly bad because Google
 2        uses its vaccine misinformation policy to remove entire spee,ches and interviews,
                                                                                                                  I ,
 3        much of which have nothing to do with vaccines.
 4               7.       This C•e nsorship, and the chllling effect it creates,. hav,e created hurdles for
 5        the campaign. Since the mainstream media has Ja.rgely avoided cove.ring Bobby the
 ,6       campaign relies heavily on ordinary people who post and share vid os of Bobby
 7        speaking on matters of public concern. YouTube is by far the largest platfonn for
 8        sharing such videos. And I suspect that Google' s censorship of Bobby's speech will
 9        increase after Labor Day, as the campaign gets into fuU swing and the primaries draw
10        closer.
      I

11               8.        The campaign has repeatedly asked Google to stop censoring Bobby's
12        speech on matters of public concern during the political campaign. It bas refused. It
13        ins·sts that it has the right censor Bobby, even as a political candidate. That is not all.
14        As a general matter, Google aUows public figures. to control the ' Google Knowl dge'
15        bo · that appears on the right side of an internet page, or the top of the page when
16        viewing it on a mobile device, in response to a search result. However despite
l7        repeated requests to Google, the campaign has not been allowed to control the box for
18        Bobby Thus, the knowledge box contains seve.ral pieces of in.accurate information
]9        about Bobby. I believe this is indicative of Google's general hostility to Bobby's
20        campaign and an example of why Google will .not ,change its behavior unless a court
21        orders it to.
22               Under penalty of perjury, under the laws of the United States of America, I
23        dedave that the foregoing is true and correct Exe,c uted this 8th day of August 2023 at
24              ~ 1   /c p,-,....,_

25

26
27                                                    Amaryllis Kennedy
28                                                       3
                                                                                   CASE NO. 5:23-c\••03880-NC ·
Case 3:23-cv-03880-TLT Document 7-3 Filed 08/09/23 Page 4 of 8




                 EXHIBIT “A”
               Case 3:23-cv-03880-TLT Document 7-3 Filed 08/09/23 Page 5 of 8



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c...

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 I                              -                             ---   --------




 11111
     --------- :Forwarded me:Ssage --------

     Date: Sat, Jun 17, 2023 at 11:35
  Subject: Re:    e YouTube removed your content


 They rejected my appeak 1




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Case 3:23-cv-03880-TLT Document 7-3 Filed 08/09/23 Page 6 of 8




 Hii-

 We h:ave rev·ewed your appeal for the,foHiowing:

 Video: RFK .Jr ,on Ro•gan - Pfizer COVID Vae:c ·ne T. ial

 We reviewed your content caref' Uy. and have ,confirmed! that U. vi:o.lates. our
 medical m·:sinfonnation policy. We :know this :is probab(y disappo:intin.g
 news. but it's our J0b to mak:e sure·that YOu · ube i.s a .safe, pl a.ce f,or all .
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 How does this impac·t ·your conrtent

        •    We·wonl be pumng your content back up,on YouTuhe.

        •    If your ap;peal was for a warming, you wm not be g1i11ien ,another
             warn ng in ·the future.

         •   If your appeal wa;s for a slrlke, the stirike wil r,emain on your
             channet
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  He1p Centier.

  Th.anks.
  The Y,ouTube tea mi




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             Case 3:23-cv-03880-TLT Document 7-3 Filed 08/09/23 Page 7 of 8
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!Date: Sat, J:un 17, 2029, at Ek38 AM
Sllbjeet: • Yocu'fuibe, remo1v&d yo· r content
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      Hi -
      Our team ha-s reviewed yoUtr content and, unfonu11ately we think It vio'lates (l1Jnr medical
      mis1nfo:rmation pol'lcy. 'We~'"'= 1r,emov,ed the following contenrt from Yoululbe~
      Vi:deo: RFK Jr on Rogan - Pfizer COVID Vac.cine Trial!


      We, klllow that this mi ght be dlsapp,ointiing, bw it's important to us I.hat YouT1ube is a saf,e
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                                           our rules, we,remo,ve it if y·ou thilil'k we'v,e made a m•stake, you ◄
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      can ,a1ppea1 and w.e'II ta1ke anolher l•ook. Keep reading,tor more details.
      How your contest violated the,poln:y·
      VouTube doesn't aHow claims about CIJVIID-19 vaccmations that 100:ntrad"c.t expert
      consensus from rocal heaHh al!lthorities o,rthe,World HeaHh Organization (WHO).
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             LEARN MO ,RE

      How this affects your channel
     Case 3:23-cv-03880-TLT Document 7-3 Filed 08/09/23 Page 8 of 8
Because it's the first time; this is just a warning. If it happens. again, your channel wil l ,get a
strike and you won 1t be able to do thin.gs Hk,e upload, post, or live stream for 1 week.
What to do next
We want to help you stay on YouTube, so please:

         • Make sure you understand YouTube's Community Guidelines and strikes basics.

         •   Review your content with our policies in mind. If after reviewing1your content you
             think we made a mistake, let us know. You can appeal this decision here.
Sincerely,
The YouTube Team
Help Center· Ema1 op ions
You have received this email o update•youi on actions rela ed io your YouTu'be ac,count
Was _his email: helpiul? Yes   I   •o,

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@2023 G,oo :le LLC d/b/a Yo uTube, 901 Cl'le.rry Ave, Sa Bruno. CA. 94066
